
In an unpublished memorandum issued on September 26, 2008, this Court affirmed the trial court's judgment in this case.See Jackson v. State, [No. CR-06-1019, September 26, 2008] 33 So.3d 1277 (Ala.Crim. App. 2008) (Welch, J., dissenting).1 Antonio *Page 1287 
Jackson, Jr., petitioned the Alabama Supreme Court for certiorari review. On August 28, 2009, the Alabama Supreme Court reversed this Court's judgment and remanded this case for this Court to remand it to the trial court for a new trial.See Ex parte Jackson, [MS. 1080390, Aug. 28, 2009]33 So.3d 1279 (Ala. 2009). Thus, in accordance with the directions of the Alabama Supreme Court, the circuit court's judgment is reversed, and this case is remanded for a new trial.
REVERSED AND REMANDED.
WISE, P.J., and WELCH, WINDOM, and KELLUM, JJ., concur.
1 Although Judge Main was not on the Court when the unpublished memorandum affirming Antonio Jackson's conviction was issued, the case was assigned to Judge Main when the Alabama Supreme Court remanded it to this Court.